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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 13–cv–03309–REB–KMT


   MARTIN THOMAS WIRTH,

          Plaintiff,

   v.

   JOHN HICKENLOOPER, in his official capacity as Governor of Colorado,
   STEPHEN A. GROOME, Judge - 11th District Court Judge,
   ARTHUR R. SMITH, Senior Judge – Retired from Mesa County Court,
   MICHELLE MILLER, in her official capacity as Public Trustee of Park County,
   NATIONSTAR MORTGAGE, LLC, (Nationstar),
   JAY BRAY, Chief Executive of Nationstar in his corporate and individual capacity,
   FEDERAL NATIONAL MORTGAGE ASSOCIATION (FNMA),
   TIMOTHY MAYOPOULOS, Chief Executive of FNMA in his corporate and individual
   capacities,
   THE CASTLE LAW GROUP, LLC, (CLG),
   CYNTHIA LOWERY-GRABER, CLG Attorney,
   DEANNA WESTFALL, CLG Attorney,
   BRITNEY BEALL-EDER, CLG Attorney,
   CHRISTOPHER T. GROEN, CLG Attorney,
   LAWRENCE E. CASTLE, Chief Executive of CLG in his corporate and individual capacies,
   FRED WEGENER, individually and in his official capacities, and
   MARY HAGER, individually,

          Defendants.


                RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE


          This matter is before the court on the following motions:

          1.      “Defendants Governor John Hickenlooper’s and Judge Stephen A. Groome’s

   Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(1) and (6)” (Doc. No. 85, filed September

   15, 2014);
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            2.     “Defendants the Castle Law Group, Cynthia Lowery-Graber, Deanna Westfall,

   Britney Beall-Eder, Christopher T. Groen and Lawrence E. Castle’s [Castle Defendants] Motion

   to Dismiss 5th Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6)” (Doc. No.

   87, filed September 19, 2104);

            3.     Defendants Nationstar Mortgage, LLC and Bray’s “Motion to Dismiss Fifth

   Amended Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6)” (Doc. No. 90, filed

   October 6, 2014);

            4.     “Defendant Fred Wegener’s Motion to Dismiss 5th Amended Complaint Pursuant

   to Fed. R. Civ. P. 12(b)(1) and 12(b)(6)” (Doc. No. 92, filed October 8, 2014);

            5.     “Defendant Mary Hager’s Motion to Dismiss Plaintiff’s Firth Amended

   Complaint Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6)” (Doc. No. 96, filed October 16,

   2014);

            6.     “Defendant Michelle Miller’s Motion to Dismiss 5th Amended Complaint

   Pursuant to Fed. R. Civ. P. 12(b)(6)” (Doc. No. 98, filed October 31, 2015); and

            7.     “Motion to Dismiss Fifth Amended Complaint Pursuant to Fed. R. Civ. P.

   12(b)(1) and 12(b)(6)” (Doc. No. 101, filed November 12, 2014).

                                      STATEMENT OF CASE

            Plaintiff, proceeding pro se, asserts in his Fifth Amended Complaint (“Am. Compl.”)

   claims relating to a foreclosure proceeding. (See Am. Compl.) The case arises from a public

   trustee foreclosure proceeding that was conducted, pursuant to Rule 120 of the Colorado Rules

   of Civil Procedure and Title 38, Article 38 of the Colorado Revised Statutes, in Park County

   District Court. (See Doc. No. 90, Exs. 1–10 [Court records from Nationstar Mortgage LLC v.


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   Wirth, Case No. 2013cv30104, Park County District Court].1) Plaintiff asserts the following

   claims for relief:

           1.      Claims One through Five for violations of Plaintiff’s due process rights in the

   Rule 120 proceeding and for “constitutional deficiencies” in Colorado’s foreclosure statutes (see

   Am. Compl., ¶¶ 33–65);

           2.      Claims Six and Seven requesting criminal liability for judicial misconduct,

   official oppression, and failure to comply with a judicial administrative provision, against

   Defendant Smith2 and Defendant Groome, who presided over Plaintiff’s Rule 120 proceeding

   (see id., ¶¶ 66–75);

           3.      Claim Eight requesting the State of Colorado3 “be ordered to publicly fund the

   pensions of all judges. . . .” (see id., ¶¶ 76–77);

           4.      Claims Nine and Ten requesting criminal liability against various defendants for

   violations of various state and federal criminal statutes, including deprivation of civil rights,

   bribery, conspiracy, money laundering, racketeering, and robbery (see id., 78–92).

           All of the defendants have filed motions to dismiss. Plaintiff failed to file a response to

   any of the motions.



   1
     Courts may “take judicial notice of judicial proceedings in other courts if they have a direct
   relation to the matters at issue.” Barrett v. Pearson, 355 F. App’x 113, 116 (10th Cir. 2009)
   (internal quotation marks and modification omitted); Williams v. Slater, 317 F. App’x 723, 725
   n.2 (10th Cir. 2008) (stating, “federal courts, in appropriate circumstances, may take judicial
   notice of proceedings in other courts, both within and without the federal judicial system, if those
   proceedings have a direct relation to matters at issue.”) (internal quotation and citation omitted).
   The court takes judicial notice of the Park County foreclosure proceeding.
   2
     Defendant Smith has not been served with the Summons and Complaint. (See Doc. No. 99.)
   3
     The State of Colorado is not a defendant in this action. Therefore, the court does not address
   this claim.

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                                         LEGAL STANDARDS

   1.     Pro Se Plaintiff

          Plaintiff is proceeding pro se. The court, therefore, “review[s] his pleadings and other

   papers liberally and hold[s] them to a less stringent standard than those drafted by attorneys.”

   Trackwell v. United States, 472 F.3d 1242, 1243 (10th Cir. 2007) (citations omitted). See also

   Haines v. Kerner, 404 U.S. 519, 520–21 (1972) (holding allegations of a pro se complaint “to

   less stringent standards than formal pleadings drafted by lawyers”). However, a pro se litigant’s

   “conclusory allegations without supporting factual averments are insufficient to state a claim

   upon which relief can be based.” Hall v. Bellmon, 935 F.2d 1106, 1110 (10th Cir. 1991). A

   court may not assume that a plaintiff can prove facts that have not been alleged, or that a

   defendant has violated laws in ways that a plaintiff has not alleged. Associated Gen. Contractors

   of Cal., Inc. v. Cal. State Council of Carpenters, 459 U.S. 519, 526 (1983). See also Whitney v.

   New Mexico, 113 F.3d 1170, 1173–74 (10th Cir. 1997) (court may not “supply additional factual

   allegations to round out a plaintiff’s complaint”); Drake v. City of Fort Collins, 927 F.2d 1156,

   1159 (10th Cir. 1991) (the court may not “construct arguments or theories for the plaintiff in the

   absence of any discussion of those issues”). The plaintiff’s pro se status does not entitle him to

   application of different rules. See Montoya v. Chao, 296 F.3d 952, 957 (10th Cir. 2002).

   2.     Lack of Subject Matter Jurisdiction

          Rule 12(b)(1) empowers a court to dismiss a complaint for lack of subject matter

   jurisdiction. Fed. R. Civ. P. 12(b)(1). Dismissal under Rule 12(b)(1) is not a judgment on the

   merits of a plaintiff’s case. Rather, it calls for a determination that the court lacks authority to

   adjudicate the matter, attacking the existence of jurisdiction rather than the allegations of the


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   complaint. See Castaneda v. INS, 23 F.3d 1576, 1580 (10th Cir. 1994) (recognizing federal

   courts are courts of limited jurisdiction and may only exercise jurisdiction when specifically

   authorized to do so). The burden of establishing subject matter jurisdiction is on the party

   asserting jurisdiction. Basso v. Utah Power & Light Co., 495 F.2d 906, 909 (10th Cir. 1974). A

   court lacking jurisdiction “must dismiss the cause at any stage of the proceedings in which it

   becomes apparent that jurisdiction is lacking.” See Basso, 495 F.2d at 909. The dismissal is

   without prejudice. Brereton v. Bountiful City Corp., 434 F.3d 1213, 1218 (10th Cir. 2006); see

   also Frederiksen v. City of Lockport, 384 F.3d 437, 438 (7th Cir. 2004) (noting that dismissals

   for lack of jurisdiction should be without prejudice because a dismissal with prejudice is a

   disposition on the merits which a court lacking jurisdiction may not render).

          A Rule 12(b)(1) motion to dismiss “must be determined from the allegations of fact in the

   complaint, without regard to mere conclusionary allegations of jurisdiction.” Groundhog v.

   Keeler, 442 F.2d 674, 677 (10th Cir. 1971). When considering a Rule 12(b)(1) motion, however,

   the Court may consider matters outside the pleadings without transforming the motion into one

   for summary judgment. Holt v. United States, 46 F.3d 1000, 1003 (10th Cir. 1995). Where a

   party challenges the facts upon which subject matter jurisdiction depends, a district court may

   not presume the truthfulness of the complaint’s “factual allegations . . . [and] has wide discretion

   to allow affidavits, other documents, and [may even hold] a limited evidentiary hearing to

   resolve disputed jurisdictional facts under Rule 12(b)(1).” Id.

   3.     Failure to State a Claim Upon Which Relief Can Be Granted

          Federal Rule of Civil Procedure 12(b)(6) provides that a defendant may move to dismiss

   a claim for “failure to state a claim upon which relief can be granted.” Fed. R. Civ. P. 12(b)(6)


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   (2007). “The court’s function on a Rule 12(b)(6) motion is not to weigh potential evidence that

   the parties might present at trial, but to assess whether the plaintiff’s complaint alone is legally

   sufficient to state a claim for which relief may be granted.” Dubbs v. Head Start, Inc., 336 F.3d

   1194, 1201 (10th Cir. 2003) (citations and quotation marks omitted).

           “A court reviewing the sufficiency of a complaint presumes all of plaintiff’s factual

   allegations are true and construes them in the light most favorable to the plaintiff.” Hall v.

   Bellmon, 935 F.2d 1106, 1198 (10th Cir. 1991). “To survive a motion to dismiss, a complaint

   must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible

   on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly,

   550 U.S. 544, 570 (2007)). Plausibility, in the context of a motion to dismiss, means that the

   plaintiff pleaded facts which allow “the court to draw the reasonable inference that the defendant

   is liable for the misconduct alleged.” Id. The Iqbal evaluation requires two prongs of analysis.

   First, the court identifies “the allegations in the complaint that are not entitled to the assumption

   of truth,” that is, those allegations which are legal conclusion, bare assertions, or merely

   conclusory. Id. at 679–81. Second, the Court considers the factual allegations “to determine if

   they plausibly suggest an entitlement to relief.” Id. at 681. If the allegations state a plausible

   claim for relief, such claim survives the motion to dismiss. Id. at 679.

           Notwithstanding, the court need not accept conclusory allegations without supporting

   factual averments. Southern Disposal, Inc., v. Texas Waste, 161 F.3d 1259, 1262 (10th Cir.

   1998). “[T]he tenet that a court must accept as true all of the allegations contained in a

   complaint is inapplicable to legal conclusions. Threadbare recitals of the elements of a cause of

   action, supported by mere conclusory statements, do not suffice.” Iqbal, 556 U.S at 678.


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   Moreover, “[a] pleading that offers ‘labels and conclusions’ or ‘a formulaic recitation of the

   elements of a cause of action will not do.’ Nor does the complaint suffice if it tenders ‘naked

   assertion[s]’ devoid of ‘further factual enhancement.’” Id. (citation omitted). “Where a

   complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it ‘stops short of

   the line between possibility and plausibility of ‘entitlement to relief.’” Id. (citation omitted).

                                               ANALYSIS

   1.     Rooker–Feldman

          All of the defendants argue that Plaintiff’s claims are precluded by the Rooker–Feldman

   doctrine, which provides that federal courts, other than the United States Supreme Court, lack

   jurisdiction to adjudicate claims seeking review of state court judgments. See District of

   Columbia Court of Appeals v. Feldman, 460 U.S. 462, 486 (1983); Rooker v. Fidelity Trust Co.,

   263 U.S. 413, 415–16 (1923). The Rooker–Feldman doctrine precludes “cases brought by state-

   court losers complaining of injuries caused by state-court judgments rendered before the district

   court proceedings commenced and inviting district court review and rejection of those

   judgments.” Exxon Mobil Corp. v. Saudi Basic Indus. Corp., 544 U.S. 280, 284 (2005); see also

   Johnson v. De Grandy, 512 U.S. 997, 1005–06 (1994) (stating that the losing party in a state

   court proceeding is generally “barred from seeking what in substance would be appellate review

   of the state court judgment in a United States district court, based on the losing party’s claim that

   the state judgment itself violates the loser’s federal rights.”). Review of the state court judgment

   must proceed to the state’s highest court and then to the United States Supreme Court pursuant to

   28 U.S.C. § 1257. See Facio v. Jones, 929 F.2d 541, 543 (10th Cir. 1991).




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          The Rooker–Feldman doctrine bars not only cases seeking direct review of state court

   judgments; it also bars cases that are “inextricably intertwined” with a prior state court judgment.

   See Feldman, 460 U.S. at 482 n.16. “To determine whether a federal plaintiff’s claim is

   inextricably intertwined with a state court judgment, [the Court] must pay close attention to the

   relief the plaintiff seeks.” Crutchfield v. Countrywide Home Loans, 389 F.3d 1144, 1147–48

   (10th Cir. 2004). “Where a plaintiff seeks a remedy that would disrupt or undo a state court

   judgment, the federal claim is inextricably intertwined with the state court judgment.” Id. at

   1148. Furthermore, the Rooker–Feldman doctrine “precludes not only review of adjudications of

   the state’s highest court, but also the decisions of its lower courts.” See Jordahl v. Democratic

   Party of Va., 122 F.3d 192, 199 (4th Cir. 1997).

          In this case, Plaintiff requests that that various Colorado statutes regarding foreclosure

   proceedings be repealed and that the sale of his property be voided. (See Am. Compl. at 33–34

   & ¶¶ 66–75.) Plaintiff seeks this relief because of adverse rulings made by the Park County

   District Court in the foreclosure proceeding. Plaintiff essentially seeks to invalidate the state

   court judgment. To review his underlying court case and consider the relief he requests,

   including his challenges to the Rule 120 proceeding and the Colorado foreclosure statutes in

   Claims One through Five, would disrupt or undo the state court judgments. Therefore, Plaintiff’s

   Claims One through Five are inextricably intertwined with the state court judgment. This Court

   lacks subject matter jurisdiction to review such claims, and they properly are dismissed.




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   2.     Requests That Defendants Be Held Criminally Liable

          Plaintiff asks that this Court hold the defendants criminally liable for their alleged

   actions. (See Am. Compl.; at 33–34 & ¶¶ 66–75, 78–92.) All defendants move for dismissal of

   Plaintiff’s claims that they allegedly violated state or federal laws.

          Plaintiff asserts that the defendants should be held criminally liable for various crimes,

   including deprivation of civil rights (18 U.S.C. § 242), bribery (Colo. Rev. Stat. § 18-8-302),

   conspiracy (Colo. Rev. Stat. § 18-2-201), money laundering (18 U.S.C. § 1956), racketeering (18

   U.S.C. § 1961), and robbery (Colo. Rev. Stat. § 18-4-302). (See id.) As a general rule, a civil

   plaintiff has no standing to assert a claim arising under a criminal statute. See, e.g., Chrysler

   Corp. v. Brown, 441 U.S. 281, 316 (1979) (“[T] his Court has rarely implied a private right of

   action under a criminal statute, and where it has done so ‘there was at least a statutory basis for

   inferring that a civil cause of action of some sort lay in favor of someone.’ ”). See also Lollis v.

   Fransein, No. 15-CV-352-JED-FHM (2015 WL 4031684, at *2 (N.D. Okla. July 1, 2015)

   (“There is no private civil right of action for a violation of 18 U.S.C. § 242, which is a criminal

   statute that provides for criminal penalties for certain civil rights deprivations.”) (quoting

   Newcomb v. Ingle, 827 F.2d 675, 676 n. 1 (10th Cir.1987); Larsen v. Larsen, 671 F. Supp. 718,

   718 (D. Utah 1987) (finding no private right of action under 18 U.S.C. §§ 241 and 242)); United

   States v. Bergman, No. 13-1299, 2013 WL 6728103, at *3 (10th Cir. Dec. 23, 2013) (finding no

   private cause of action under 18 U.S.C. § 1956); MMXII, Inc. v. QDA Royalties LLC, Civ. Action

   No. 13-cv-00253-MSK, 2013 WL 599557, at *2–3 (D. Colo. Feb. 15, 2013) (finding no private

   cause of action for violation of 18 U.S.C. § 1957).




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            Thus, the only statute cited in the Fifth Amended Complaint that creates any possibly

    applicable private right of action is the Racketeer Influenced and Corrupt Organizations Act

    (“RICO”) statute, 18 U.S.C. § 1961, which the court addresses infra. Therefore, to the extent

    Plaintiff’s claims are brought under any of the statutes cited in the complaint other than 18

    U.S.C. § 1961, it is patently obvious that Plaintiff has not and cannot allege facts which would

    state a claim under any of these other statutes, and they properly are dismissed.4

    3.      Plaintiff’s Racketeering Claim

            To the extent Plaintiff asserts a claim that the defendants violated RICO, the Castle

    Defendants move to dismiss the claim. (See Doc. No. 87 at 6–11.)

            The elements of a civil RICO claim are (1) conduct of (2) an enterprise (3) through a

    pattern (4) of racketeering activity. Tal v. Hogan, 453 F.3d 1244, 1261 (10th Cir. 2006) (citation

    omitted). “Racketeering activity” is defined in 18 U.S.C. § 1961(1)(B) as “any act which is

    indictable” under any of the crimes listed in the statute. These underlying acts are “predicate

    acts” and form the basis for RICO liability. Tal, 453 F.3d at 1261. A defendant need not be

    convicted of the predicate acts. Id. at 1262.

            In his Fifth Amended Complaint, Plaintiff cites 18 U.S.C. § 1961 as the basis for his

    racketeering claim. (See Am. Compl. at 28.) However, Plaintiff makes only conclusory

    allegations that Defendants Mayopoulos, Bray, and the Castle Defendants violated the statute.

    (See id., ¶¶ 86, 88.5, 89.1–89.4.) Plaintiff’s racketeering claim does not “contain sufficient

    factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.” Iqbal, 556


    4
     Moreover, to the extent Plaintiff asserts claims for violations of statutes in Claims One through
    Five, the court already has recommended dismissal of those claims under the Rooker-Feldman
    doctrine, as explained supra.

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    U.S. at 678. Rather, Plaintiff’s Fifth Amended Complaint offers only “labels and conclusions”

    that the defendants violated the RICO statute. 556 U.S. at 678.

           Therefore, Plaintiff’s civil racketeering claim properly is dismissed.

                                              CONCLUSION

           Based on the foregoing, this court respectfully

           RECOMMENDS that the Defendants’ Motions to Dismiss (Doc. Nos. 85, 87, 90, 92, 96,

    98, and 101) be GRANTED as follows:

           1.      Plaintiff’s Claims One through Five should be dismissed for lack of jurisdiction

    under Fed. R. Civ. P. 12(b)(1); and

           2.      Plaintiff’s Claims Six through Ten be dismissed for failure to state a claim upon

    which relief can be granted under Fed. R. Civ. P. 12(b)(6).

                                   ADVISEMENT TO THE PARTIES

           Within fourteen days after service of a copy of the Recommendation, any party may

    serve and file written objections to the Magistrate Judge’s proposed findings and

    recommendations with the Clerk of the United States District Court for the District of Colorado.

    28 U.S.C. ' 636(b)(1); Fed. R. Civ. P. 72(b); In re Griego, 64 F.3d 580, 583 (10th Cir. 1995). A

    general objection that does not put the district court on notice of the basis for the objection will

    not preserve the objection for de novo review. “[A] party’s objections to the magistrate judge’s

    report and recommendation must be both timely and specific to preserve an issue for de novo

    review by the district court or for appellate review.” United States v. One Parcel of Real Prop.

    Known As 2121 East 30th Street, Tulsa, Okla., 73 F.3d 1057, 1060 (10th Cir. 1996). Failure to

    make timely objections may bar de novo review by the district judge of the magistrate judge’s


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    proposed findings and recommendations and will result in a waiver of the right to appeal from a

    judgment of the district court based on the proposed findings and recommendations of the

    magistrate judge. See Vega v. Suthers, 195 F.3d 573, 579–80 (10th Cir. 1999) (a district court’s

    decision to review a magistrate judge’s recommendation de novo despite the lack of an objection

    does not preclude application of the “firm waiver rule”); One Parcel of Real Prop., 73 F.3d at

    1059–60 (a party’s objections to the magistrate judge’s report and recommendation must be both

    timely and specific to preserve an issue for de novo review by the district court or for appellate

    review); Int’l Surplus Lines Ins. Co. v. Wyo. Coal Ref. Sys., Inc., 52 F.3d 901, 904 (10th Cir.

    1995) (by failing to object to certain portions of the magistrate judge’s order, cross-claimant had

    waived its right to appeal those portions of the ruling); Ayala v. United States, 980 F.2d 1342,

    1352 (10th Cir. 1992) (by their failure to file objections, plaintiffs waived their right to appeal

    the magistrate judge’s ruling); but see, Morales-Fernandez v. INS, 418 F.3d 1116, 1122 (10th

    Cir. 2005) (firm waiver rule does not apply when the interests of justice require review).

           Dated this 21st day of August, 2015.




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